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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                    Plaintiff,

  v.                                       CRIMINAL NO. 1:07CR50-5
                                                (Judge Keeley)

  LATANYA GARCIA,

                    Defendant.


                      MEMORANDUM OPINION AND ORDER
         DENYING GARCIA’S POST-TRIAL MOTIONS AS UNTIMELY FILED

        On January 9, 2009, the defendant, LaTanya Garcia (“Garcia”),

  was convicted by a jury of Counts Five and Six of the Third

  Superseding Indictment. In a brief hearing following the return of

  the jury’s verdict, the Court orally extended the period for the

  filing of post-trial motions until February 9, 2009.                It then

  entered the Judgment Order the same day, confirming in writing that

  post-trial motions were due on February 9, 2009.

        Garcia, through her attorney, filed a “Motion for Judgment of

  Acquittal and for a New Trial” on April 9, 2009, approximately two

  months after the deadline for the filing of such.           Garcia had not

  sought any extension of that deadline, nor has she offered any

  explanation for the late filing.       The Government has not responded

  to Garcia’s motions.

        Federal   Rule   of   Criminal   Procedure    29   provides   that   a

  defendant may move for a Judgment of Acquittal within seven (7)
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         DENYING GARCIA’S POST-TRIAL MOTIONS AS UNTIMELY FILED

  days after a guilty verdict or after the Court discharges the jury,

  whichever is later. Fed. R. Crim. P. 29(c)(1). Similarly, Federal

  Rule of Criminal Procedure 33 provides that a defendant may move

  for a new trial for any reason other than newly discovered evidence

  within seven (7) days after the verdict or finding of guilty. Fed.

  R. Crim. P. 33(b)(2).      A defendant may move for a new trial based

  on newly discovered evidence for up to three years after the jury

  verdict. Fed. R. Crim. P. 33(a). Garcia, however, does not allege

  newly discovered evidence in her instant motion.

        While Rules 29 and 33 provide limited time-frames for filing

  post-trial motions, the Federal Rules permit a court to extend that

  deadline.    Federal Rule of Criminal Procedure 45(b) provides:

        When an act must or may be done within a specified
        period, the court on its own may extend the time, or for
        good cause may do so on a party’s motion made: (A) before
        the originally prescribed or previously extended time
        expires; or (B) after the time expires if the party
        failed to act because of excusable neglect.

        In this case, the Court extended the date for filing post-

  trial motions to February 7, 2009. No motion for further extension

  was made by any party.     Moreover, Garcia has not attempted to show

  excusable    neglect    for    the   delay    in    filing     her    motions.

  Consequently,    the   Court   concludes     that   Garcia’s    motions    for




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         DENYING GARCIA’S POST-TRIAL MOTIONS AS UNTIMELY FILED

  judgment of acquittal and for a new trial were untimely filed, and

  therefore DENIES them (dkt. no. 330).

        It is so ORDERED.

        The Court directs the Clerk of Court to transmit copies of

  this order to counsel of record, the defendant, and the appropriate

  agencies.

  DATED: July 29, 2009



                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




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